                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF TENNESSEE
                                KNOXVILLE DIVISION
  ____________________________________
                                       )
  THE STATE OF TENNESSEE et al.,       )
                                       )
                    Plaintiffs,       )
                                       )
  v.                                   )   Case No. 3:21-cv-308
                                       )   Judge Charles E. Atchley, Jr.
  UNITED STATES DEPARTMENT            )    Magistrate Judge Debra C. Poplin
  OF EDUCATION et al.,                )
                                       )
                    Defendants.        )
  ____________________________________)

                                      JOINT STATUS REPORT

         The parties respectfully submit this joint status report pursuant to the Court’s August 14, 2024

  Order. Doc. No. 163. This case initially involved a challenge by the Plaintiff States to a Notice of

  Interpretation, Dear Educator Letter, and Fact Sheet issued by the Department of Education and a

  Technical Assistance Document issued by the Equal Employment Opportunity Commission

  (“EEOC”).1 See generally Doc. No. 1. This Court issued a preliminary injunction on July 15, 2022, and

  stayed the case on November 3, 2022, while Defendants appealed that injunction to the United States

  Court of Appeals for the Sixth Circuit. While the Sixth Circuit appeal was pending, a different court

  issued a final judgment vacating the EEOC’s Technical Assistance Document. See Texas v. EEOC,

  633 F. Supp. 3d 824 (N.D. Tex. 2022). The EEOC did not appeal that decision and all parties agree

  Plaintiff States’ claims relating to that document are now moot.

         After the Sixth Circuit affirmed the injunction and remanded the case, this Court ordered the

  parties to notify the Court within 7 days if a notice of appeal was filed from the Northern District of




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          The Fact Sheet was jointly issued with the Civil Rights Division of the Department of
  Justice. See Doc. No. 1 ¶ 64.


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  Texas’s final judgment in Texas v. Cardona, No. 4:23-cv-604, 2024 WL 3658767 (N.D. Texas Aug. 5,

  2024), which vacated the Title IX guidance documents that remain at issue in this case. The

  Department of Education filed a notice of appeal in that case on October 3, 2024. Doc. No. 47, Texas

  v. Cardona, 4:23-cv-604 (N.D. Tex. Oct. 3, 2024). The parties understand the Court does not intend

  to consider dispositive motions during the pendency of the appeal in that case. See Doc. No. 163 at

  2–4.

         The parties also jointly request that the Court reopen this case for the limited purpose of

  dismissing the EEOC pursuant to Rule 21 of the Federal Rules of Civil Procedure. Rule 21 provides

  that “the court may at any time, on just terms, add or drop a party.” Fed. R. Civ. P. 21. As this Court

  previously recognized, Plaintiffs’ claims against the EEOC are moot because the Technical Assistance

  Document that had been at issue in this case was vacated by a final judgment of another district court

  that was not appealed. Doc. No. 163 at 1. Therefore, the Technical Assistance Document has no

  legal effect, and the EEOC should be dismissed from the case.

  Dated: October 10, 2024                                Respectfully submitted,

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